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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORIK

 

SANDER SABA,
Plaintiff,
V.

No. 20 Civ. 5859 (LJL)
ANDREW CUOMO, in his official

capacity as Governor of the State of New SUPPLEMENTAL DECLARATION OF
York, et al., GREGORY KLINE IN SUPPORT OF
DEFENDANTS’ MOTION TO
Defendants. DISMISS

 

 

I, Gregory Kline, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746,
that the following is true and correct:

il. I am Deputy Commissioner for Administration of the New York State Department
of Motor Vehicles (“DMV”), a position I have held since 1996. In my current position, I oversee
the general administrative functions of DMV. Included within my areas of responsibility are
supervision of DMV’s computer system modernization project and addressing DMV’s IT
requirements by liaising with the New York State Office of Technology Services.

2. The facts set forth herein are based on my personal knowledge and/or a review of
the documents in my possession. [ am familiar with the facts and circumstances of this case and
submit this declaration in support of Defendants’ motion to dismiss.

Changes to DMV’s System Modernization Project

3, In my prior declaration of October 29, 2020, I advised that DMV had embarked on
a modernization project that would replace DMV’s legacy system with a new system. Since the
date of my prior declaration, DMV has resolved to modify its existing system rather than replace
the existing system in order to enable DMV to simultaneously focus efforts on expanding the

availability of certain remote services that will eliminate the need for in-person DMV office visits
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for various transactions -- such as issuing licenses, permits, and registrations -- in response to the
COVID-19 pandemic.

4, However, this change to DMV’s modernization project will not negatively impact
DMV’s goal to allow DMV to create a license record without the need for an applicant to make a
binary “male” or “female” gender selection. That goal will still be accomplished through this new
modification approach, and on substantially the same timeline as reported in my October 29, 2020

declaration.

Executed on November | @ 2020. Yo ff

GREGORY KLINE

 

 
